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                                                                             E-FILED
                                              Wednesday, 04 January, 2006 03:56:08 PM
                                                         Clerk, U.S. District Court, ILCD
           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff,              )
                                         )
           v.                            )      No. 05-30033
                                         )
CORDELL JAMES, et al.,                   )
                                         )
                 Defendants.             )

                                 OPINION

JEANNE E. SCOTT, U.S. District Judge:

     This matter comes before the Court on Defendant Cordell James’

Motion in Limine to Exclude Evidence of Alleged Attempted Murder of

Police Officers at the Time of Arrest Fed. R. Evid. 403 (d/e 25) (Motion in

Limine). For the reasons set forth below, the Motion is DENIED.

     Cordell James has been indicted on a charge of one count of

conspiracy to distribute cocaine and cocaine base (“crack”), in violation of

21 U.S.C. §§ 841(a)(1) and 846. Indictment (d/e 16). The Government

intends to present evidence of the following at trial as part of its case in

chief against Defendant James: (1) On March 10, 2005, Defendant James

met with a confidential informant and an undercover DEA agent to sell the

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informant and the agent cocaine and crack cocaine; (2) Defendant James

and Co-defendant Tyrone Rush got into the informant’s vehicle for the

purpose of completing the transaction; (3) Rush handed the informant the

cocaine and crack cocaine; (4) a dispute arose over payment for the drugs;

(5) Rush took the drugs back, and Rush and Defendant James got out of the

informant’s vehicle; (6) surveillance and backup officers converged on the

site to arrest James and Rush; (7) James pulled a loaded firearm from his

waist and aimed it at the officers; (8) the officers responded by aiming their

weapons at James; (9) no shots were fired; (10) James tossed his weapon

under a vehicle and fled; (11) the weapon was retrieved and seized; and (12)

James was caught and arrested. Government’s Response to Defendant’s

Motion in Limine (d/e 27) at 2-3. James states that the Government further

plans to present evidence that the firearm retrieved from under the vehicle

was found to be jammed. Motion in Limine at 1.

     James seeks to exclude evidence that he pointed the weapon at the

officers and that the weapon was found to be jammed. He argues that the

evidence is unfairly prejudicial because it tends to prove that James

committed the uncharged crime of attempted murder by attempting to fire

the jammed gun at the officers. James’ Motion is denied. The failed drug

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transaction with the informant and DEA agent is evidence of the ongoing

drug conspiracy charged in the Indictment. The Government’s proposed

evidence would show that Defendant James brought the weapon to the

planned drug transaction. This evidence tends to show that James possessed

the weapon in furtherance of the drug conspiracy. James’ possession of the

weapon is, thus, relevant and admissible to prove the conspiracy charge. See

United States v. Thompson, 286 F.3d 950, 969 (7th Cir. 2002).

     James then drew the weapon and pointed it at the arresting officers as

he fled from the failed drug transaction.       Again, the attempted drug

transaction is evidence of the ongoing drug conspiracy charged in the

Indictment. The Government’s evidence that James used the weapon at

that time is intricately related to the charged offense. Evidence that is

intricately related to the charged offense is admissible even if the conduct

constitutes uncharged criminal conduct. Thompson, 286 F.3d at 968-69;

United States v. King, 126 F.3d 987, 995 (7th Cir. 1997). The evidence is

admissible.

     The cases cited by Defendant James involve the presentation of

evidence of criminal conduct that was unrelated to the wrongdoing alleged

against the Defendant. E.g., United States v. Sargent, 98 F.3d 325, 329-30

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(7th Cir. 1996) (The trial court abused its discretion by allowing the

admission of evidence that, several years before the alleged offense, the

defendant assaulted a woman with a gun and threatened to kill her).1 Here,

the Government proposes to present evidence that James drew the weapon

while engaging in a drug transaction that furthered the charged criminal

conspiracy. Such evidence is relevant and admissible. The cases cited by

the Defendant do not apply.

      The Government further suggests that any possible prejudice may be

avoided by giving a limiting instruction. The Court will consider any

proposal that either party may have for such an instruction.

      THEREFORE, The Motion in Limine to Exclude Evidence of Alleged

Attempted Murder of Police Officers at the Time of Arrest Fed. R. Evid. 403

(d/e 25) is DENIED. Should the Government attempt to present evidence

that James pointed a weapon at an officer at some other time, or in some

other context, James may renew his Motion.



      1
        Defendant James cites United States v. Pace for the proposition that uncharged
evidence of murder should be excluded where there was no evidence that the murder was
connected to the continuing criminal enterprise charge in that case. Pace, 10 F.3d 1106
(5th Cir. 1993), cert. denied, 511 U.S. 1149 (1994). The Court has reviewed the Pace
opinion and finds no reference either to evidence of murder or to a charge of continuing
criminal enterprise. The Pace opinion contains nothing relevant to the Motion in
Limine.

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IT IS THEREFORE SO ORDERED.

ENTER: January 4, 2006.

       FOR THE COURT:

                                       s/ Jeanne E. Scott
                                      JEANNE E. SCOTT
                                UNITED STATES DISTRICT JUDGE




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